           Case 2:18-cr-00290-AB Document 41 Filed 05/20/19 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 UNITED STATES OF AMERICA                       :           Date of
                                                :           Notice: 5/20/2019
               v.                               :
                                                :
 DAVID SOMMERS
 (on bail)                                      :           Criminal No. 2018-290-1

                  TAKE NOTICE that the above-entitled case has been set for SENTENCING in
 the United States District Court, United States Courthouse, 601 Market Street, Philadelphia,
 Pennsylvania, on Thursday, August 29, 2019 at 10:00 a.m. before the Honorable A n i t a B .
 B r o d y , in courtroom 7-B, 7th floor.

           ALL DEFENDANTS ARE DIRECTED TO REPORT TO THE COURTROOM
 ON THE DATE AND TIME STATED ABOVE. IF A DEFENDANT FAILS TO APPEAR AS
 DIRECTED, THE BAIL MAY BE FORFEITED AND A BENCH WARRANT ISSUED.

               If a defendant is presently in jail, the defendant or his counsel shall notify the
 undersigned in writing immediately so that the necessary procedures can be taken to have the
 defendant present in the courtroom.

              Counsel are instructed to send a copy to the Judge of all submissions made to the
Probation Office as objections to the presentence report.


   INTERPRETER REQUIRED
 {XX} THIS PROCEEDING HAS BEEN RESCHEDULED FROM: Monday, July 1, 2019 at 2:00
 p.m
                                Very truly yours,
                                    S/James F. G. Scheidt
                                            Mr. James F.G. Scheidt
                                            Deputy Clerk to Judge Anita B. Brody
                                            267-299-7439
                                    Notice to:
                                     Defendant David Sommers
                                     Defense Counsel Louis R. Busico &
                                     Steven M. Jones
                                     A.U.S.A.s Joan E. Burnes & Ryan C.
                                     Connors
                                     U.S. Marshal
                                     Brian Piskai, Probation Officer
                                     Pretrial Services – Brittney
                                     Brooks
                                     Crystal Wardlaw                               Cr 4 (rev. 8/97)
